Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 1 of 8 PageID #: 1778




                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA

  Exodus Refugee Immigration, Inc.,             No. 1:15-cv-01858-TWP-DKL

        Plaintiff,

               v.

  Mike Pence, in his official capacity as
  Governor of the State of Indiana, and
  John Wernert, in his official capacity as
  the Secretary of the Indiana Family and
  Social Services Administration,

        Defendants.



        Episcopal Migration Ministries’ Reply Supporting Its
                                  Petition for Fees

  The State asks the Court to let it impose costs on nonparty Episcopal Migration

  Ministries by unnecessarily dragging the nonprofit resettlement agency into this

  litigation without reimbursing the resulting costs. The State advocates a position

  that would punish any nonparty for cooperating with a party that serves an

  overbroad subpoena. This would be unfair and unwise. It is not the law.

        Court-ordered reimbursement to a nonparty for responding to a subpoena is

  not limited to situations in which the court intervenes. All a nonparty must do, as

  Episcopal Migration Ministries did here, is notify the requesting party that it

  reserves the right to seek attorney fees.

        Finally, contrary to the State’s assertion, the fees incurred by Episcopal

  Migration Ministries in this case are reasonable. The Court should reject the State’s

  irrelevant cost-per-page approach and instead asses the fees in light of the

  overburdensome and improper scope of the State’s subpoena, in addition to the
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 2 of 8 PageID #: 1779




  complicated nature of the work required to respond to the narrower scope of

  materials produced.


  I.    Reimbursement is not dependent on a motion to quash or compel.

        The State does not contest that its subpoena was overbroad and defective. It

  does not contest that it imposed costs on a nonparty. It does not contest that

  Episcopal Migration Ministries’ request meets the two-part test of Linder v. Calero-

  Portocarrero, 251 F.3d 178, 180 (D.C. Cir. 2001) ((1) “whether the subpoena imposes

  expenses on the non-party,” and (2) “whether those expenses are ‘significant’”), as

  well as the traditional criteria in older cases such as United States v. Columbia

  Broadcasting System, Inc., 666 F.2d 364, 371 n.9 (9th Cir. 1982) (“(1) the scope of

  the discovery; (2) the invasiveness of the request; (3) the extent to which the

  producing party must separate responsive information from privileged or irrelevant

  material; and (4) the reasonableness of the costs of production”) and In Re Exxon

  Valdez, 142 F.R.D. 380, 383 (D.D.C. 1992) (“(1) whether the nonparty has an

  interest in the outcome of the case; (2) whether the nonparty can more readily bear

  its costs than the requesting party; and (3) whether the litigation is of public

  importance”). Instead, the State attempts to avoid the costs it imposed by claiming

  that Episcopal Migration Ministries should have pursued the more inefficient and

  expensive course of seeking intervention by the Court rather than producing some

  documents. This is not the law, and it would be unfair and inefficient to require

  such court intervention as a prerequisite to protecting nonparties from such costs.

        Rule 45 mandates the Court to “protect a person who is neither a party nor a

  party’s officer from significant expense resulting from compliance.” Fed. R. Civ. P.

  45(d)(2)(B)(ii); see Legal Voice v. Stormans Inc., 738 F.3d 1178, 1184 (9th Cir. 2013).

  Contrary to the State’s assertion, this responsibility is not limited to cases in which



                                             2
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 3 of 8 PageID #: 1780




  a request for court intervention is filed. As another court has stated, “requiring a

  court order to award costs creates a perverse incentive to bring all discovery

  disputes to the court, needlessly multiplying litigation.” Spears v. First Am.

  eAppraiseIT, No. 5-08-CV-00868-RMW, 2014 U.S. Dist. LEXIS 169944, *6 (N.D.

  Cal. Dec. 8, 2014). Instead, “a sounder policy is to encourage parties to meet and

  confer and come to an agreed resolution of discovery disputes.” Id.

        The other cases cited by the State, unlike Spears, do not address this

  question. See ECF No. 96, 4–5 (citing Legal Voice, 738 F.3d at 1181, 1184; Linder,

  251 F.3d at 180). Legal Voice and Linder both involved court orders following

  motions to compel. See Spears, 2014 U.S. Dist. LEXIS 169944 at *8 (Legal Voice did

  not address the issue of cost shifting without a court order. … Legal Voice leaves

  open the issue of cost shifting in the absence of a court order.”) As a result, these

  cases do not support the State’s claim.


  II.   Episcopal Migration Ministries gave sufficient notice that it would
        seek fees.

        Courts have allowed reimbursement where a nonparty reserves its right to

  seek attorney fees as part of negotiations that avoid court intervention. E.g., Spears,

  2014 U.S. Dist. LEXIS 169944 at *9; N. Am. Rescue Prods., 2009 U.S. Dist. LEXIS

  118316; Angell v. Kelly, 234 F.R.D. 135, 138 (M.D.N.C. 2006) (citing Angell v.

  Shawmut Bank Conn. Nat’l Ass’n, 153 F.R.D. 585, 590 (M.D.N.C. 1994)).

        In Spears the nonparty voluntarily complied with a subpoena from the

  plaintiff after negotiating a reduced production. Id. at *10 n.2. The nonparty took

  certain steps that it argued preserved its right to seek reimbursement. First, it

  included boilerplate language in its objection that claimed the requests were

  “unduly burdensome.” Id. at *11. Second, it asked whether plaintiffs would provide

  reimbursement for incurred costs. Id. at *12. Third, it included a footnote in its


                                             3
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 4 of 8 PageID #: 1781




  motion to quash the larger subpoena before any negotiation in which the nonparty

  asserted it would be “entitled to ‘reasonable compensation.’” Id. at *13. But none of

  the documents submitted to the court showed any condition on the responses on the

  right to seek reimbursement. Id. at *11.

        Unlike the nonparty in Spears, Episcopal Migration Ministries consistently

  indicated its intent to seek fees. In its initial objection letter, Episcopal Migration

  Ministries notified the State that the resettlement agency would move to quash the

  subpoena and “seek its attorney fees and costs” if the subpoena were not withdrawn.

  ECF No. 95-2, 1. The subpoena was never withdrawn; the State therefore was on

  notice that Episcopal Migration Ministries would seek its fees. Episcopal Migration

  Ministries then further preserved these rights by repeating, as negotiations

  continued, that it “reserves the right to move to quash the Subpoena,” which

  includes the right to fees even under the State’s unlawfully narrow construction of

  Rule 45. ECF No. 95-3, 1.

        Finally, and dispositively, Episcopal Migration Ministries repeated its

  demand and included an actual invoice in the letter dated January 29, 2016—the

  letter with which it proffered the documents. ECF No. 96-1, 2–3. If the State was
  unwilling to pay the costs of production, it should not have continued to seek or

  accept the documents. But it did seek, accept, and presumably used them. The State

  did not object to or address Episcopal Migration Ministries’ demand for payment, so

  Episcopal Migration Ministries followed up with a letter dated April 1, 2016, which

  repeated the demands and included further details. ECF No. 95-6.

        The State thus was on notice that Episcopal Migration Ministries was

  maintaining its claim for costs before, as, and after it accepted the documents. It

  accepted the produced documents with a letter demanding payment for costs related

  to their production. Episcopal Migration Ministries’ letter clearly stated that it




                                              4
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 5 of 8 PageID #: 1782




  continued to maintain its “numerous valid objections and bases upon which to move

  to quash the Subpoena.” ECF No. 95-5, 2. The letter continued,

               In conjunction with EMM’s production in this regard, please find
               enclosed an invoice for EMM’s efforts in responding to the Subpoena,
               including its efforts in identifying, assembling, and preparing the
               responsive materials for production. Please remit payment in that
               amount, made payable to Plews Shadley Racher & Braun LLP, at your
               earliest convenience.
  ECF No. 95-5, 2–3.

         The State did not return the documents or in any way object to this further

  demand for payment. Instead it accepted the documents. It accepted the terms by

  which the documents were produced. Even if the Court were to apply a narrower

  rule requiring agreement related to reimbursement, the exchange between the

  State and Episcopal Migration Ministries meets that criterion. See 13 Corbin on

  Contracts § 3.21 (2015) (explaining that silence plus additional circumstances,

  including the offeree’s acceptance of control over property, may constitute

  acceptance and create a contract).


  III.   Episcopal Migration Ministries’ fees are reasonable.

         In its response brief the State asserts for the first time a claim that Episcopal

  Migration Ministries’ fees are unreasonable. It asserts paying “attorneys $11,140

  for producing 93 pages by email” is unreasonable. The reasonableness of attorney

  fees in responding to discovery is not properly assessed based on the number of

  pages finally produced or the method of production. The overbreadth of the initial

  request and the complexity of sorting through the issues and documents involved

  are more pertinent factors.

         The 68.8 total hours worked in responding to the discovery requests includes

  work done in responding to an initial subpoena that violated the Federal Rules’



                                             5
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 6 of 8 PageID #: 1783




  geographic limits, subjected a nonparty to undue burden and expense, was grossly

  overbroad, and sought production of patently irrelevant information. This resulted

  in a lot of work as the scope of the materials actually provided was negotiated and

  reviewed. The fees include all the necessary correspondence with Exodus Refugee

  Immigration, Inc. and its counsel. The work also includes correspondence between

  Episcopal Migration Ministries personnel and its counsel. And, of course, it includes

  work done to review materials for relevance and privilege, including work done to

  ensure Episcopal Migration Ministries complied with complex regulations governing

  personal information of immigrants and the protection of its own confidential

  information. In sum, the roughly 100 pages that Episcopal Migration Ministries

  produced do not tell the entire story. 1


                              REQUEST FOR RELIEF
  Episcopal Migration Ministries respectfully requests the Court to order the State to

  reimburse all of the costs and fees Episcopal Migration Ministries incurred because

  the State imposed discovery on it, including the costs of this motion.2




  1 Should the Court deem necessary, Episcopal Migration Ministries is willing to submit more
  detailed invoices to the Court for in camera inspection.
  2 See In re NCAA Student-Athlete Name & Likeness Licensing Litig., No. 09-cv-01967 CW (NC), 2012

  U.S. Dist. LEXIS 110824, *13–15, 2012 WL 4846522 (N.D. Cal. Aug. 7, 2012) (order granting Big Ten
  Conference fees for pursuing its motion for sanctions under Rule 45).


                                                 6
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 7 of 8 PageID #: 1784




  Respectfully submitted,




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                                         7
Case 1:15-cv-01858-TWP-DLP Document 100 Filed 07/11/16 Page 8 of 8 PageID #: 1785




                        CERTIFICATE OF SERVICE
  I certify that a copy of this was filed electronically in this Court on July 11, 2016.
  The parties may access this filing through the Court’s electronic filing system, and
  notice of this filing will be sent to the following parties by operation of the Court’s
  electronic filing system:

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  /s/ Josh S. Tatum
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                                             8
